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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                      :
In re:                                : Sub-Chapter V Chapter 11
                                      :
ZHANG MEDICAL P.C., d/b/a NEW HOPE    : Case No.: 23-10678-pb
FERTILITY CENTER,                     :
                                      :
                Debtor.               :
--------------------------------------x

                       STIPULATION AND AGREED ORDER
                    REGARDING USE & OCCUPANCY PAYMENTS

       This Stipulation and Agreed Order (the “Stipulation”) is made as of August 17, 2023 by

and between Zhang Medical P.C., d/b/a New Hope Fertility Center (the “Debtor”) and GLL BVK

Columbus Circle LLC (the “Landlord,” and together with the Debtor, the “Parties”).

                                         RECITALS

       WHEREAS, the Landlord is the owner of real property located at 4 Columbus Circle, New

York, New York (the “Building”); and

       WHEREAS, the Landlord leased to the Debtor the entire second, third, fourth and fifth

floors (the “Leased Premises”) in the Building pursuant to that certain Agreement of Lease dated

December 31, 2018 (together with all amendments, the “Lease”); and

       WHEREAS, the Lease required the Debtor to pay fixed monthly rent (“Base Rent”), and

additional rent charges, including but not limited to, charges for electricity, HVAC, condenser

water, water, real estate taxes and miscellaneous maintenance costs (“Additional Rent”); and

       WHEREAS, on April 30, 2023 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code; and
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        WHEREAS, on June 30, 2023, the Debtor filed a motion [ECF No. 74] to reject the Lease

nunc pro tunc to June 30, 2023, and on July 27, 2023, the Court entered an order [ECF No. 96]

authorizing the rejection of the Lease effective as of July 20, 2023; and

        WHEREAS, notwithstanding the rejection of the Lease, the Debtor continues to use and

occupy the third and fourth floor, and a portion of the second floor, of the Leased Premises; and

        WHEREAS, the Landlord issued to the Debtor invoices (together with back-up

documentation) for charges related to the Debtor’s use and occupancy of the Leased Premises (the

“Use & Occupancy Charges”) for the month of August 2023 as follows: (i) second floor – Base

Rent of $74,250.00 (representing 75% of the Base Rent due for the second floor under the terms

of the Lease), and Additional Rent of $2,541.02 (for charges accruing prior to August 2023);

(ii) third floor – Base Rent of $103,592.50, and Additional Rent of $5,034.62 (for charges accruing

prior to August 2023); (iii) fourth floor – Base Rent of $103,592.50, and Additional Rent of

$16,604.67 (for charges accruing prior to August 2023); and (iv) fifth floor – Base Rent of $0, and

Additional Rent of $942.27 (for charges accruing prior to August 2023) (the foregoing charges in

the aggregate sum of $306,557.58, the “August 2023 Use & Occupancy Charges”); and

        WHEREAS, the Debtor acknowledges that it is obligated to pay Use & Occupancy Charges

to the Landlord; the Debtor has not paid the August 2023 Use & Occupancy Charges; and the

Debtor disputes the amount that should be charged for Use & Occupancy Charges; and

        WHEREAS, the Parties have agreed, without prejudice, to the Debtor’s payment of the

August 2023 Use & Occupancy Charges and monthly Use & Occupancy Charges going forward

on the terms set forth in this Stipulation.

        NOW THEREFORE, IT IS STIPULATED, CONSENTED TO AND AGREED BY THE

UNDERSIGNED PARTIES THAT:




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       1.      The foregoing Recitals are incorporated herein by this reference.

       2.      This Stipulation shall be effective only when executed by the Parties hereto and

approved by the Court.

       3.      If the Debtor has not done so already, by no later than two (2) business days after

entry of this Stipulation by the Court, the Debtor must pay to the Landlord the sum of $247,157.58

on account of the August 2023 Use & Occupancy Charges (such sum representing all of the Base

Rent and Additional Rent for the third, fourth and fifth floors as set forth in the August 2023

invoices, and 15% of the Base Rent plus Additional Rent for the second floor).

       4.      On or before September 1, 2023, the Debtor shall pay Use & Occupancy Charges

for the month of September 2023 in the sum of $103,592.50 (Base Rent for the third floor) plus

Additional Rent charges as will be invoiced for the third floor; plus $103,592.50 (Base Rent for

the fourth floor) plus Additional Rent charges as will be invoiced for the fourth floor; plus

$14,850.00 (representing 15% of the Base Rent for the second floor) plus Additional Rent charges

as will be invoiced for the second floor (collectively, the “Continuing Use & Occupancy

Charges”).

       5.      Until such time as the Debtor has vacated the Leased Premises, the Debtor shall

pay to the Landlord on the first business day of each month beginning on October 1, 2023, all of

the Continuing Use & Occupancy Charges.

       6.      Notwithstanding anything to the contrary contained in this Stipulation, the Debtor

reserves all its rights to assert that the Use & Occupancy Charges should be less than the amounts

agreed to in this Stipulation, and the Debtor shall be entitled to a credit if the Court determines, or

the Parties agree, that the Debtor overpaid Use & Occupancy Charges.




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        7.      Notwithstanding anything to the contrary contained in this Stipulation, the

Landlord reserves all its rights to assert that the Use & Occupancy Charges should be more than

the amounts agreed to in this Stipulation, and the Landlord shall be entitled to recover from the

Debtor any shortfall of Use & Occupancy Charges if the Court determines, or the Parties agree,

that Use & Occupancy Charges should be more than the amounts paid by the Debtor pursuant to

this Stipulation.

        8.      The Landlord expressly reserves, and does not waive, its right to seek Court

authorization to compel the Debtor to vacate the Leased Premises, and the Debtor expressly

reserves, and does not waive, its right to object to any such request.

        9.      Except as expressly set forth herein, this Stipulation does not and shall not be

deemed to constitute a waiver by the Landlord or the Debtor of any rights or remedies that it may

have or to which it may be entitled. Neither this Stipulation nor the acceptance by the Landlord

of any Use & Occupancy Charges from the Debtor shall create any leasehold tenancy interest in

the Debtor or any other person or entity, or any right to occupy, possess or use the Leased Premises.

        10.     Subject to the terms hereof, this Stipulation shall be immediately effective and

enforceable upon the date this Stipulation is entered by the Court on the docket in the above-

captioned case.

        11.     This Stipulation shall be binding on and inure to the benefit of the successors and

assigns of each of the Parties hereto.

        12.     This Stipulation may be executed in any number of counterparts and by different

Parties hereto in separate counterparts, each of which when so executed shall be deemed to be an

original and all of which taken together shall constitute one and the same agreement. This




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Stipulation may be executed by electronic signatures, including without limitation, by PDF, and

all electronic signatures shall have the same force and effect as an original signature.

        13.     This Court shall retain jurisdiction over any and all matters arising from or related

to this Stipulation.

 RUBIN LLC                                            PARDALIS & NOHAVICKA, LLP
 Counsel to GLL BVK Columbus Circle LLC               Counsel to Zhang Medical P.C., d/b/a New
                                                      Hope Fertility Center
 By:     /s/ Paul A. Rubin
         Paul A. Rubin                                By:   /s/ Norma E. Ortiz
         Hanh V. Huynh                                      Norma E. Ortiz

 11 Broadway, Suite 715                               35-10 Broadway, Suite 201
 New York, New York 10004                             Astoria, NY 11106




IT IS SO ORDERED:

Dated: New York, New York
August 22, 2023

                                                               /s/ Philip Bentley
                                                               Hon. Philip Bentley
                                                               United States Bankruptcy Judge




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